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                                  IPP International U.G. Declaration Exhibit A
                                   File Hashes for IP Address 71.127.42.189

ISP: Verizon Online, LLC
Physical Location: Herndon, VA



Hit Date UTC          File Hash                                           Title
12/04/2017 15:31:52   296611FFFE925E019A9DA4DA27A5A307978EBCCE            Love Burns Again

12/04/2017 15:30:20   29F22087D08778A5F07FA7D88C9F1B70E27DA387            A Fucking Hot Threesome

12/04/2017 15:30:01   5FD28AA7ADD967571F60FB7B519EC4F06AAA0F0D            Born To Be Wild

12/04/2017 15:27:37   7B1338CF011BB8AE92A32A35EE2FB215DC210A5F            Fill Her Up

12/04/2017 15:26:38   507D295A735F5464F4C3DB79DC495B3077D31578            Piano Concerto

12/04/2017 15:24:31   6EA411DD4580E2C06E2526C469ADC3687F470FE2            Into The Lions Mouth

12/04/2017 15:19:28   D0DB2F51F34377746B69D85A8ABB4B19405640A5            Fit For A Fuck

12/04/2017 15:17:42   B4140ED7691E78D2599C56E5C8694E344F7AC27F            An Afternoon Inside Kim

12/04/2017 15:15:41   673AA4B478E333C74CF467AD24467FFB206B7019            Emerald Love

12/04/2017 15:11:25   1D7F77503ECAEB0394329781D7BFC3F76D16326D            Caprice Swaps Cocks

12/04/2017 15:11:21   77BD97CB46F8E6B0B9869A8B39F0ECC75CF84573            Love In Prague

12/04/2017 15:11:20   0294BB72CCDC51CD5DCE35057907DAA15DA461A6 Supermodel Sex

12/04/2017 15:11:09   418612CDA063819CF12372355DCD2C2573FD0337            Truth or Dare

12/04/2017 05:02:45   5F524DF15759705BDA6D385631FD6ACDE6D080CD            The Tightest Blonde

12/04/2017 05:02:32   0795957EB77B0C2ECD7C669292F5FD28BC3629CA            Four Way In 4K

12/04/2017 05:01:26   AB2EFD6A4F586BE75346B5ACD568B6D94D9DD74C            Would You Fuck My Girlfriend


Total Statutory Claims Against Defendant: 16




                                                  EXHIBIT A
EVA381
